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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA
                             Criminal No. 22-CR-90 (KMM/LIB)

 UNITED STATES OF AMERICA,

                        Plaintiff,
                                                          ORDER OF DETENTION
         v.

 GEORGE FRANCIS DEPPA,

                        Defendant.


       This matter came before the Court on July 19, 2022, for an initial appearance, arraignment,

and detention hearing. The hearing was held remotely via Zoom with all parties’ consent. Mr.

Deppa appeared and was represented by his attorney Kurt Glaser. The United States was

represented by Assistant United States Attorney Lindsey Middlecamp. At the hearing, the

Government moved for Mr. Deppa to be detained pending trial. Mr. Deppa stated that he would

like to reserve the issue of detention and waive a detention hearing at the present time.

       For the reasons that follow, the Court will order Mr. Deppa detained for the present time.

                     FINDINGS OF FACT AND CONCLUSIONS OF LAW

       Mr. Deppa is presently charged by indictment with production of child pornography,

which triggers a rebuttable presumption of detention under 18 U.S.C. § 3142(e)(3)(E).

       During his initial appearance, Mr. Deppa made a knowing and voluntary waiver of his right

to a detention hearing at this time. He stated he wished to reserve the issue of detention for a future

time, if and when he resolves some state custody matters.

       Under 18 U.S.C. § 3142, pretrial detention may be ordered either upon a clear and

convincing showing that release will result in a danger to the community or upon a showing by a

preponderance of the evidence that release will result in a serious risk of flight. United States v.
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Abad, 350 F.3d 793, 797 (8th Cir. 2003); United States v. Sazenski, 806 F.2d 846, 848 (8th Cir.

1986).

         Here, in light of the nature of the charges, the rebuttable presumption of detention, and Mr.

Deppa’s waiver, the Court concludes that, at present, no combination of conditions will adequately

assure Mr. Deppa’s future appearance or the safety of the community, and the Court will order

him detained. If and when Mr. Deppa would like to reopen the issue of detention, he may bring

an appropriate motion before the Court.

                                           CONCLUSION

         Accordingly, IT IS HEREBY ORDERED that:

         1.       The motion of the United States for detention of Mr. Deppa is granted;

         2.       Mr. Deppa is committed to the custody of the United States Marshals for

confinement in a corrections facility separate, to the extent practicable, from persons awaiting or

serving sentences or being held in custody pending appeal;

         3.       Mr. Deppa shall be afforded reasonable opportunity to consult privately with his

lawyer; and

         4.       Upon Order of the Court or request by the United States Attorney, the person in

charge of the corrections facility in which Mr. Deppa is confined shall deliver him to the United

States Marshal for the purpose of appearance in connection with a court proceeding.



DATED: July 27, 2022                            s/Leo I. Brisbois
                                                The Honorable Leo I. Brisbois
                                                United States Magistrate Judge




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